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              United States Court of Appeals
                           For the First Circuit

  No. 20-1268

                                UNITED STATES,

                                   Appellee,

                                       v.

                FRANCIS M. REYNOLDS, a/k/a Frank Reynolds,

                            Defendant, Appellant.


              APPEAL FROM THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS

            [Hon. Douglas P. Woodlock, U.S. District Judge]


                                    Before

                           Barron, Chief Judge,
                  Thompson and Kayatta, Circuit Judges.


       Francis M. Reynolds on brief pro se.
       Mark T. Quinlivan, Assistant United States Attorney, with
  whom Nathaniel R. Mendell, Acting United States Attorney, Sara
  Miron Bloom, Assistant United States Attorney, and Leslie Wright,
  Assistant United States Attorney, were on the brief, for appellee.
       Judith H. Mizner, Assistant Federal Defender for The Office
  of the Federal Defender, Districts of Massachusetts, New Hampshire
  and Rhode Island, amicus curiae.


                                April 9, 2024
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              BARRON, Chief Judge.         The appellant in this direct

  criminal appeal died while it was pending before our court.               We

  thus confront the question of whether, to dispose of this appeal,

  we should apply the doctrine of abatement ab initio or follow some

  other course.

              Under the abatement doctrine, when a criminal defendant

  dies during the pendency of a direct appeal from his conviction,

  "his death abates not only the appeal but also all proceedings had

  in   the   prosecution   [of   the    underlying    indictment]   from   its

  inception," United States v. Libous, 858 F.3d 64, 66 (2d Cir. 2017)

  (quoting United States v. Wright, 160 F.3d 905, 908 (2d Cir.

  1998)), such that the conviction must be vacated and the underlying

  charge dismissed, see id.       We have not previously recognized the

  doctrine in a precedential ruling.           But we have routinely applied

  it in unpublished rulings, and every other federal court of appeals

  that hears direct criminal appeals has adopted the doctrine in a

  published (and therefore precedential) decision.1           The government


        1See United States v. Moehlenkamp, 557 F.2d 126, 127-28 (7th
  Cir. 1977); United States v. Bechtel, 547 F.2d 1379, 1380 (9th
  Cir. 1977); United States v. Littlefield, 594 F.2d 682, 683 (8th
  Cir. 1979); United States v. Pauline, 625 F.2d 684, 685 (5th Cir.
  1980); United States v. Dudley, 739 F.2d 175, 176 (4th Cir. 1984);
  United States v. Wilcox, 783 F.2d 44, 44 (6th Cir. 1986) (order);
  United States v. Mollica, 849 F.2d 723, 726 (2d Cir. 1988); United
  States v. Schumann, 861 F.2d 1234, 1236 (11th Cir. 1988); United
  States v. Davis, 953 F.2d 1482, 1486 (10th Cir. 1992); United
  States v. Pogue, 19 F.3d 663, 665 (D.C. Cir. 1994); United States
  v. Christopher, 273 F.3d 294, 297 (3d Cir. 2001); see also United
  States v. Ribaudo, 62 M.J. 286, 287 (C.A.A.F. 2006).
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  urges that we nonetheless reject the doctrine as unsound.                           It then

  contends that we should either simply dismiss this appeal as moot

  or, at most, follow the practice of the Supreme Judicial Court of

  Massachusetts and dismiss the appeal as moot while instructing the

  District      Court       to   add   a   notation         in   the    record    "that    the

  defendant's conviction removed the presumption of innocence, that

  the conviction was appealed, and that the conviction was neither

  affirmed nor reversed because the defendant died while the appeal

  was pending."         See Commonwealth v. Hernandez, 118 N.E.3d 107, 121

  (Mass. 2019) (adopting this procedure).

                Having carefully considered the government's position,

  we reject it and thereby align ourselves with the other federal

  courts of appeals and our own past decisions in recognizing the

  abatement doctrine.            Accordingly, we dismiss the appeal and remand

  for the District Court to vacate the convictions at issue and

  dismiss    the      indictment.           In    addition,       in    accord      with   the

  government's        own    understanding        of    what     must    follow     from   the

  abatement doctrine's application, we instruct the District Court

  on   remand    to     vacate     the     orders      of    restitution      and    criminal

  forfeiture that were imposed in this case, as well as the special

  assessment.      See Nelson v. Colorado, 581 U.S. 128, 135-36 (2017).

                                                 I.

                In the fall of 2019, after a fourteen-day trial, a jury

  in   the   United         States     District        Court     for    the   District      of

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  Massachusetts found Francis M. Reynolds guilty of three counts of

  obstruction of a United States Securities and Exchange Commission

  proceeding, 18 U.S.C. § 1505, and one count of securities fraud,

  15 U.S.C. §§ 78j(b), 78ff(a).           The District Court entered the

  judgment of conviction against Reynolds and sentenced him to a

  term of imprisonment of seven years plus three years of supervised

  release.     The    District    Court   also   ordered     Reynolds    to   pay

  restitution to the victims of his fraud in the amount of $7,551,757

  and a special assessment of $400.        In addition, the District Court

  ordered Reynolds to forfeit $280,000 to the United States pursuant

  to the criminal judgment.

             The     government   thereafter     filed   a   motion     for   the

  forfeiture of 47,905,567 shares of a company called PixarBio that

  Reynolds held, in partial satisfaction of the forfeiture order.

  The District Court granted the motion on July 12, 2021.

             Reynolds timely filed this appeal on March 20, 2020.

  Although Reynolds was represented by counsel through sentencing,

  he elected to proceed pro se on appeal.          In his opening brief, he

  challenged his convictions as well as the restitution and criminal

  forfeiture orders.

             Briefing was complete and the appeal was pending in this

  Court when the government filed a suggestion of death, informing

  the Court that Reynolds had died on January 9, 2022, while in the

  custody of the U.S. Bureau of Prisons.           The government moved in

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  this same filing for appointment of counsel "for the other side"

  and asked us to order briefing on "what procedural consequences

  should follow from Reynolds's death."

              We denied the government's motion for appointment of

  counsel without prejudice and instructed the government to serve

  its    motion       and     our      order      on         Reynolds's      "personal

  representative(s)."         Our    order     also    provided    that     Reynolds's

  "personal    representative(s)"            should     file      any     motion   for

  substitution of parties with respect to the pending appeal in our

  Court within thirty days of being served by the government.

              The government filed a response that stated that the

  only person it found "who might be considered his representative"

  was Reynolds's surviving spouse, who upon being provided with the

  government's suggestion of death and our order in response to it

  responded that she had no intention of participating in this case.

  The   government    further       represented       that    Reynolds's     surviving

  spouse stated that she was not aware of any pending probate matter

  nor of any will belonging to her late husband.                        The government

  also represented      that while it          had attempted to           explain the

  potential effect of the application of the doctrine of abatement

  ab initio on any of Reynolds's assets, it was "unclear whether Ms.

  Reynolds fully understands the ramifications of the abatement

  issues pending before the Court."

              After     the     deadline          for        Reynolds's       personal

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  representative to respond to our order had passed, the government

  moved to appoint an amicus curiae to submit a brief in defense of

  the doctrine of abatement ab initio.           We appointed the Federal

  Public Defender for the Districts of Massachusetts, New Hampshire,

  and Rhode Island ("the Defender") to appear as amicus curiae to

  address this question.        The Defender urges us to resolve the

  question by applying the doctrine of abatement ab initio.                The

  Defender also agrees with the government that, if we do apply the

  abatement doctrine here, then under Nelson the restitution and

  criminal forfeiture orders, as well as the special assessment,

  cannot stand.    See 581 U.S. at 135-36.

             We thank both the Defender and the government for ably

  briefing these issues.

                                      II.

             We start with the question of whether there is any

  controlling precedent that dictates that the doctrine of abatement

  ab initio applies.      We conclude, as both the government and the

  Defender agree, that there is not.

             That was not always the case.            In Durham v. United

  States, 401 U.S. 481, 481 (1971) (per curiam), the Supreme Court

  of the United States addressed the application of the doctrine in

  a case that involved a criminal defendant who had unsuccessfully

  challenged his federal conviction on direct appeal and who had

  died while his petition for certiorari was pending before the

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  Court. The Court disposed of the petition by vacating the judgment

  of    the   court    of    appeals   that    had    affirmed   the   petitioner's

  conviction and remanding with directions that the indictment be

  dismissed.     Id. at 483.

                The Court noted that "the lower federal courts were

  unanimous" in holding that "death pending direct review of a

  criminal conviction abates not only the appeal but also all

  proceedings had in the prosecution from its inception."                  Id.   The

  Court acknowledged the potential distinction arising from the fact

  that direct appeals of federal criminal convictions "are a matter

  of    right   while   decisions      on    certiorari    petitions    are   wholly

  discretionary."           Id. at 483 n.*.         The Court concluded, however,

  that when a petitioner dies before the Court adjudicates a petition

  filed pursuant to his statutory "right to petition for certiorari

  . . . the distinction between [an appeal and certiorari review]

  would not seem to be important" to whether the doctrine applies.

  Id.

                Five years later in Dove v. United States, 423 U.S. 325

  (1976) (per curiam) the Court backtracked. There, again, the Court

  was considering a petition for certiorari from a criminal defendant

  who was challenging a federal conviction on direct appeal when the

  Court was notified that the petitioner had died while the petition

  was pending.        Id. at 325.      Rather than disposing of the petition

  as Durham had, the Court simply dismissed the petition, stating

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  that, "[t]o the extent that Durham v. United States, 401 U.S. 481

  (1971) may be inconsistent with this ruling, Durham is overruled."

  Id.

             Ever since, the Supreme Court has followed the course

  charted in Dove.       See, e.g., Walker v. United States, 140 S. Ct.

  953 (2020) (mem.) ("It appearing that petitioner died on January

  22, 2020, the petition for a writ of certiorari is dismissed.").

  Accordingly, there is no controlling Supreme Court precedent that

  either requires us to apply, or prohibits us from applying, the

  doctrine of abatement ab initio to dispose of a pending direct

  appeal from a federal conviction when the appellant dies during

  the pendency of that appeal.

             There also is no controlling precedent from our Court

  that   addresses   whether   we    must   apply    --   or   are    barred   from

  applying -- the doctrine in disposing of such an appeal.                     True,

  even   after   Dove,   we   have   applied   the    doctrine       with   seeming

  regularity to dispose of an appeal of that kind.             See, e.g., United

  States v. Sheehan, No. 93-1781 (1st Cir. Feb. 2, 1994), ECF No. 35

  (dismissing the appeal and remanding to the district court with

  instructions to vacate the judgment of conviction and to dismiss

  the superseding indictment); United States v. Merlino, No. 03-1041

  (1st. Cir. Apr. 14, 2006), ECF No. 102 (same); United States v.

  Ferrer-Ramos, No. 04-2294 (1st Cir. July 21, 2005), ECF No. 54

  (same); United States v. Parra-Palomeque, No. 05-1677 (1st Cir.

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  July 9, 2007), ECF No. 77 (same on joint motion from government

  and defense counsel); United States v. Powell, No. 14-1231 (1st

  Cir. Oct. 20, 2014), ECF No. 20 (same on defendant's unopposed

  motion); United States v. Carter, No. 17-1738 (1st Cir. Oct. 11,

  2017), ECF No. 19 (same); United States v. Tejeda-Serrano, No.

  18-1029 (1st Cir. May 1, 2018), ECF No. 20 (same); United States

  v. Sanchez-Alvarado, No. 18-1972 (1st Cir. June 2, 2020), ECF No.

  34   (same   on    government's   motion);    United     States   v.   Cotto-

  Hernandez, No. 18-2018 (1st Cir. Feb. 20, 2020), ECF No. 44 (same

  sua sponte upon learning of defendant's death); United States v.

  Crosby, No. 19-1782 (1st Cir. Mar. 1, 2021), ECF No. 69 (same on

  parties' joint motion); United States v. Valle, No. 21-1604 (1st

  Cir. Sep. 20, 2021), ECF No. 23 (same on joint motion).            In fact,

  we are not aware of any instance in which we have ruled that the

  doctrine does not apply in such a circumstance.

               But    we   have     applied     the      doctrine   only     in

  non-precedential, unpublished rulings.         Thus, as both the Defender

  and the government agree, the question at hand is an open one in

  the Circuit.

               The government contends that it is important that we

  resolve in a precedential ruling whether the doctrine of abatement

  ab initio applies, as all the other circuits that hear direct

  criminal appeals have done so.             We agree.     We thus turn our

  attention to the doctrine's merits and the arguments concerning

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  them that have been advanced quite thoroughly by the Defender and

  the government.       In assessing those arguments, however, we are

  mindful    that,   although   the   question    of   whether   the   doctrine

  warrants our recognition is technically one of first impression in

  this Circuit, the doctrine comes to us firmly rooted in both the

  precedents of the other circuits and our own practices.2                  See

  United States v. Zannino, 761 F.2d 52, 56 (1st Cir. 1985) ("[W]e




        2 The government does not suggest that there is a
  jurisdictional bar to our applying the doctrine of abatement ab
  initio to dispose of this appeal, and we are satisfied that there
  is none. To be sure, generally speaking, "if an event occurs while
  a case is pending that makes it impossible for the court to grant
  any effectual relief whatever to a prevailing party, the action
  must be dismissed" as moot. Harris v. Univ. of Mass. Lowell, 43
  F.4th 187, 192 (1st Cir. 2022) (cleaned up); see also United States
  v. Sampson, 26 F.4th 514, 516 (1st Cir. 2022) (per curiam)
  (dismissing as moot appeal from capital sentence upon being
  informed of the death of the defendant). However, even assuming
  that a defendant's death would moot a case notwithstanding the
  continuing effect of the conviction on the defendant's estate, we
  would still have jurisdiction to apply the doctrine of abatement
  ab initio.   As a general matter, when a pending appeal becomes
  moot, appellate courts may vacate the judgment below if doing so
  is "'most consonant to justice' . . . in view of the nature and
  character of the conditions which have caused the case to become
  moot." U.S. Bancorp Mortg. Co. v. Bonner Mall P'ship, 513 U.S.
  18, 24-25 (1994) (quoting United States v. Hamburg–Amerikanische
  Packetfahrt–Actien Gesellschaft, 239 U.S. 466, 477–78 (1916));
  Azar v. Garza, 584 U.S. 726, 729 (2018) ("Because this practice is
  rooted in equity, the decision whether to vacate turns on 'the
  conditions and circumstances of the particular case.'" (quoting
  Hamburg-Amerikanische, 239 U.S. at 478)); see also United States
  v. Volpendesto, 755 F.3d 448, 452 (7th Cir. 2014) (holding that
  the defendant's "death has deprived us of the power to decide the
  merits, but it does not defeat our authority to resolve the appeal
  in response to the mootness of the underlying case").            We
  understand the abatement doctrine, insofar as it is otherwise
  sound, to be consonant with this exercise of authority.
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  do not lightly create a split among the circuits."); Shea v. United

  States, 976 F.3d 63, 85 (1st Cir. 2020) (Selya, J., dissenting)

  (observing that "the reasoned decisions of a large number of our

  sister circuits are, at the very least, entitled to respectful

  consideration").       But see Pinpoint IT Servs., LLC v. Rivera,

  Chapter 7 Trustee of Atlas IT Exp. Corp. (In re Atlas IT Exp.

  Corp.), 761 F.3d 177, 182-83 (1st Cir. 2014) (noting that "[t]he

  numbers [of other circuits] favoring a rule do not necessarily

  mean that the rule is the best one" and that "it is always incumbent

  on us to decide afresh any issue of first impression in our

  circuit").

                                        A.

                                        1.

              The origins of the doctrine of abatement ab initio are

  not perfectly clear, but its application in the federal courts of

  appeals coincides with the advent in the late-nineteenth century

  of   appeals    from   federal   criminal   convictions    to   the   circuit

  courts.3       Indeed, by the mid-twentieth century,            the   doctrine

  appears to have been uniformly applied in the federal courts.             See


        3Circuit courts were only authorized to hear "writs of error"
  in criminal convictions in 1879, and then only on a discretionary
  basis. See Act of Mar. 3, 1879, ch. 176, 20 Stat. 354. It was
  not until 1911 that jurisdiction over all direct appeals from
  criminal convictions was vested in the circuit courts. See Act of
  Mar. 3, 1911, ch. 231, § 128, 36 Stat. 1087, 1133-34; see also,
  Marc M. Arkin, Rethinking the Constitutional Right to a Criminal
  Appeal, 39 UCLA L. Rev. 503, 521-25 (1992).
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  Crooker v. United States, 325 F.2d 318, 319 (8th Cir. 1963)

  (surveying pre-Durham abatement practices in federal court).

              Consistent        with   the    doctrine's        connection    to   the

  statutory right to appeal, the primary rationale that underlies

  the doctrine is "grounded in procedural due process concerns,"

  United States v. DeMichael, 461 F.3d 414, 416 (3d Cir. 2006), or,

  as it is sometimes put, concerns about the conviction's "finality,"

  Libous,    858   F.3d   at     66.    The    notion      is    that   the   criminal

  defendant's death precludes the conviction from being tested on

  appeal despite the criminal defendant's attempt to invoke the

  statutory right to do so.             See Moehlenkamp, 557 F.2d at 128

  (explaining that it is against the interests of justice for a

  person to "stand convicted without resolution of the merits of his

  appeal").

              The government does not dispute this account of the

  doctrine's origins, but it argues that the finality rationale is

  unsound and so supplies no basis for our applying the doctrine to

  dispose of this appeal.         In fact, the government appears to argue

  that the doctrine is so unsound that it must be rejected despite

  its admittedly deep roots in federal appellate practice.                         The

  government rests this argument in part on the Supreme Court's

  statement that "[o]nce a defendant has been afforded a fair trial

  and   convicted    of   the    offense     for   which    he    was   charged,   the

  presumption of innocence disappears," Herrera v. Collins, 506 U.S.

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  390, 399 (1993), and in part on various aspects of the federal

  criminal process, reflected both in federal statute and the United

  States Sentencing Guidelines.

              The   government    reasons   that   Herrera   shows    that   the

  conviction in and of itself strips the defendant of a presumption

  of innocence. According to the government, therefore, the pendency

  of any direct appeal should have no bearing on whether to permit

  the conviction to stand in the wake of the appellant's death

  because "[a]n unreviewed criminal conviction is neither suspect

  nor lacking in finality in any relevant sense."            Volpendesto, 755

  F.3d at 454–55 (Sykes, J., concurring).          The government emphasizes

  that several state high courts have rejected the finality rationale

  based, at least in part, on precisely this reasoning.              See, e.g.,

  State v. Devin, 142 P.3d 599, 604-05 (Wash. 2006) (citing Herrera

  and overruling prior precedent adopting abatement ab initio).

              Notably, however, a number of circuits have relied on

  the finality rationale in applying the abatement doctrine even

  after Herrera.      See, e.g., Volpendesto, 755 F.3d at 452; United

  States v. Estate of Parsons, 367 F.3d 409, 415 (5th Cir. 2004) (en

  banc); Libous, 858 F.3d at 66.            And we see nothing in Herrera

  itself that would provide us with a basis for concluding that it

  is evident that those courts were mistaken to do so.

              Herrera addressed whether a federal habeas petitioner

  could, years after his state criminal trial and unsuccessful direct

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  appeal, bring a federal habeas claim based not on an independent

  constitutional     violation     but    on   new   evidence    that   assertedly

  proved his innocence.       See 506 U.S. at 399-400.          Herrera held only

  that claims of actual innocence are not "a ground for federal

  habeas    relief   absent   an   independent        constitutional    violation

  occurring in the underlying state criminal proceeding."                   See id.

  at 400.   But see id. at 404 (noting that a proper showing of actual

  innocence    can   serve    as   "a     gateway    through    which   a    habeas

  petitioner" may pass "to have his otherwise [procedurally] barred

  constitutional claim considered on the merits"). The Supreme Court

  thus had no occasion in Herrera                 to address the longstanding

  abatement doctrine itself, which, of course, by its terms applies

  only in the context of direct criminal appeals.

              Nor does Herrera's reasoning undermine the strength of

  the finality rationale for the doctrine.               We do not understand

  Herrera's emphasis on the impact of a conviction on the presumption

  of innocence in limiting claims of factual innocence in federal

  habeas actions to speak to the importance of the direct appeal in

  the criminal process more generally.               The value of the right to

  such an appeal does not inhere in the opportunity that it provides

  for criminal defendants to demonstrate their factual innocence.

  Indeed, a common ground of challenge in such an appeal is one that

  is predicated on a claimed constitutional violation, which, of

  course, is the very ground that Herrera recognized could be brought

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  post-conviction.

                 There also is no want of Supreme Court authority to

  support the notion that undergirds the finality rationale for the

  abatement doctrine -- that the loss of the opportunity to pursue

  a direct appeal is significant.           Indeed, the Supreme Court has

  described the direct appeal          of a criminal conviction          as    "an

  integral part" of the process through which the judicial system

  "finally adjudicat[es] the guilt or innocence of a defendant."

  Griffin v. Illinois, 351 U.S. 12, 18 (1956) (emphasis added).

                 Herrera, then, hardly suffices to show that the calculus

  that has led to the consistent application of the abatement

  doctrine in the federal courts of appeals rests on a failure to

  recognize that a defendant who has been convicted is no longer

  presumed innocent.         For, "[w]hile the trial court's judgment

  carries    a     presumption   of   validity,   the   very   essence    of    a

  presumption is its vulnerability to refutation," Howell v. United

  States, 455 A.2d 1371, 1372 (D.C. 1983), and if a conviction is

  overturned on direct appeal, then the presumption of innocence is

  restored, see Nelson, 581 U.S. at 135; Johnson v. Mississippi, 486

  U.S. 578, 585 (1988) (noting that after a "conviction has been

  reversed, unless and until [the defendant] should be retried, he

  must be presumed innocent of that charge").

                 The government is right that "several other features of

  federal law" besides Herrera reflect the import of a judgment of

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  conviction when entered -- and thus even prior to any appeal having

  been   taken.      The    government      highlights     the    higher    statutory

  standard    for    bail    pending   appeal     versus   bail    pending     trial.

  Compare 18 U.S.C. § 3143(b)(A) (court "shall order" detention

  pending appeal unless it finds "by clear and convincing evidence

  that the person is not likely to flee or pose a danger to the

  safety of any other person or the community" and that the appeal

  raises a "substantial question . . . likely to result in" reversal

  or resentencing to a shorter period of imprisonment than the

  pendency of the appeal is likely to take), with id. § 3142(e)(1)

  (court shall order defendant detained pre-trial only on finding

  that "no condition or combination of conditions will reasonably

  assure the appearance of the person as required and the safety of

  any other person and the community").             The government also points

  to the fact that a United States Sentencing Guideline includes a

  conviction      pending    appeal    in   the   calculation      of   a   convicted

  defendant's criminal history score.             See U.S.S.G. § 4A1.2(a)(1).

              But we do not understand our companion circuits in

  consistently applying the doctrine of abatement to have been

  laboring under the misapprehension that a conviction has legal

  significance only after it has been affirmed on direct appeal or

  the time for taking such an appeal has run with no appeal having

  been taken.       We understand our companion circuits merely to have

  recognized      what      the   Supreme     Court      itself     recognized    in

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  Griffin -- that the direct appeal is "an integral part" of the

  process for "finally adjudicating the guilt or innocence of a

  defendant."     351 U.S. at 18 (emphasis added).           Thus, we see no

  fundamental contradiction between how federal law treats a federal

  conviction and the finality rationale for the abatement doctrine,

  as the rationale rests on the indisputably central role that direct

  appeals do play in the process by which a conviction is "finally

  adjudicate[d]."     Id.

                                        2.

              The government separately challenges a second rationale

  that has been put forth for the abatement doctrine: because the

  punitive purpose of a criminal conviction cannot be fulfilled after

  a defendant dies, "the state should not punish a dead person or

  his estate."     Estate of Parsons, 367 F.3d at 413; see also United

  States v. Pomeroy, 152 F. 279, 282 (C.C.S.D.N.Y. 1907); O'Sullivan

  v. People, 32 N.E. 192, 193-94 (Ill. 1892).           Here, the government

  contends there is an irreconcilable tension between this rationale

  and "victims' rights," as the government argues the conviction

  continues to serve compensatory and expressive purposes after a

  defendant's death.

              In support of this contention, the government points to

  two federal statutes, the Mandatory Victims Restitution Act of

  1996 ("MVRA"), Pub. L. No. 104-132, §§ 201-11, 110 Stat. 1214,

  1227-41 (codified as amended in scattered sections of 18 U.S.C.),

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  and the Crime Victims' Rights Act of 2004 ("CVRA"), Pub. L. No.

  108-405, §§ 101-04, 118 Stat. 2260, 2261-65 (codified as amended

  in scattered sections of the U.S. Code), both of which secure

  certain rights for victims in federal criminal proceedings.                    At

  oral   argument,     the   government   placed      special    emphasis   on   a

  provision of the Justice for All Reauthorization Act of 2016, in

  which Congress amended the MVRA to provide that "[i]n the event of

  the    death    of   the   person   ordered    to    pay   restitution,    the

  individual's estate will be held responsible for any unpaid balance

  of the restitution amount." Pub. L. No. 114-324, § 2(b), 130 Stat.

  1948, 1948 (codified as amended at 18 U.S.C. § 3613(b)).                   But

  insofar as the government means to suggest this provision is in

  conflict with the abatement doctrine, we are not persuaded.

              The text of this provision does not make clear that it

  applies even to a restitution order that is pending on direct

  appeal when the defendant dies.         Thus, we do not understand this

  provision to make "evident" a "statutory purpose" to overturn the

  application of the abatement doctrine, a "long-established and

  familiar       principle[]"    of    federal        criminal    adjudication.

  Isbrandtsen Co. v. Johnson, 343 U.S. 779, 783 (1952); Samantar v.

  Yousuf, 560 U.S. 305, 320 n.13 (2010) ("[W]hen a statute covers an

  issue previously governed by the common law, we interpret the

  statute with the presumption that Congress intended to retain the

  substance of the common law."); see also Whitman v. Am. Trucking

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  Ass'ns, 531 U.S. 457, 468 (2001) ("Congress, . . . does not alter

  the fundamental details of a regulatory scheme in vague terms or

  ancillary provisions -- it does not, one might say, hide elephants

  in mouseholes.").      And, insofar as the provision is not intended

  to preclude application of the abatement doctrine, and instead is

  intended merely to address circumstances in which a defendant dies

  after the direct appeal process has run its course, we see no basis

  for construing the provision in a way that would bring it into

  conflict with the principles of due process set forth in Nelson

  when the government itself does not make any argument that we must

  so construe it.     See Clark v. Martinez, 543 U.S. 371, 380–81 (2005)

  ("[W]hen deciding which of two plausible statutory constructions

  to adopt, . . . [i]f one of them would raise a multitude of

  constitutional problems, the other should prevail . . . .").

              The   government    also   argues   that    application   of   the

  doctrine will "revive the trauma and pain that crime victims and

  their loved ones have already suffered."               But, as we have been

  emphasizing, the doctrine of abatement is not a novel doctrine.

  Its roots date back more than a century.         We thus see little reason

  to conclude that the doctrine has been applied in the federal

  courts of appeals without any thought having been given to the

  well-established notion that "in the administration of criminal

  justice, courts may not ignore the concerns of victims."               Morris

  v. Slappy, 461 U.S. 1, 14 (1983).             Instead, we understand the

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  doctrine to reflect a now well-established equitable judgment

  about the status to accord a federal conviction in the procedural

  posture at issue here, given that vacating such a conviction

  pursuant to the abatement doctrine "in no way undermines [victims']

  right to use civil proceedings to vindicate their legal rights

  after the defendant's death."        Volpendesto, 755 F.3d at 454.

                                        3.

              Notably, the government itself recognizes that there is

  a difference worth acknowledging between a conviction that was not

  appealed at all and a conviction that was challenged on appeal but

  could not be finally adjudicated on appeal due to the defendant's

  death.    The government states that it would not object if we were

  to follow the lead of the highest state court in Massachusetts in

  dismissing this appeal as moot while also taking the additional

  step of instructing the District Court to add a notation on the

  public docket to the effect "that the defendant's conviction

  removed the defendant's presumption of innocence, but that the

  conviction was appealed from and it was neither affirmed nor

  reversed on appeal because the defendant died while the appeal was

  pending."    Hernandez, 118 N.E.3d at 121.

              The government's argument for rejecting the abatement

  doctrine, therefore, amounts to an argument that, although there

  is a noteworthy difference between an appealed and un-appealed

  conviction, that difference is not so great as to warrant the

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  equitable decision to vacate the former when the defendant dies

  before the appeal has been decided.             But, in the face of the

  established and uniform application of a doctrine that reflects

  the opposite equitable judgment by our fellow circuits, we are not

  persuaded.

              True, the highest courts in a number of states have

  chosen to reject the doctrine.         See Hernandez, 118 N.E.3d at 119-

  21 (collecting cases). But the highest court in the federal system

  has not purported to cast doubt on what it described many decades

  ago as the "impressive" "unanimity of the lower federal courts

  which have worked with this problem over the years" regarding the

  doctrine's legitimacy.        Durham, 401 U.S. at 483.        And no federal

  court of appeals in the decades since has seen fit to break with

  that unanimous consensus.

              Given that direct appeals are no less integral to the

  federal criminal process than they were at the time that the

  Supreme    Court    described     this      still-reigning    consensus      as

  "correct," we see no reason to break with it.             We thus conclude

  that the doctrine of abatement ab initio applies here, and so

  dismiss this appeal with instructions for the district court to

  vacate    Reynolds'     convictions      and    dismiss   the    superseding

  indictment against him.

                                         B.

              There   remains    one    additional   question     on   which   we

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  requested briefing: whether abating a conviction requires also

  vacating the special assessment, restitution, and forfeiture order

  imposed pursuant to the conviction.4             The government and the

  Defender both submit, based on the Supreme Court's decision in

  Nelson, that vacatur of the convictions does so require.              See 581

  U.S. at 136 ("Colorado may not retain funds taken from [the

  defendants] solely because of their now-invalidated convictions

  . . . for Colorado may not presume a person, adjudged guilty of no

  crime, nonetheless guilty enough for monetary exactions.").

              Every    circuit     court    to    consider    this    question

  post-Nelson has reached this conclusion as well, see, e.g., United

  States v. Brooks, 872 F.3d 78, 89 (2d Cir. 2017); United States v.

  Coddington, 802 F. App'x 373, 373 (10th Cir. 2020), including at

  least one that previously did not abate restitution upon the death

  of a defendant, see United States v. Ajrawat, 738 F. App'x 136,

  139 (4th Cir. 2018) ("[T]o the extent [a prior circuit case not

  abating restitution] conflicts with Nelson in this regard, it is


        4In the government's brief, submitted before Reynolds's
  passing, the government argued that Reynolds's challenges to the
  forfeiture order were not properly before us in this appeal because
  no final order of forfeiture as to Reynolds's PixarBio shares had
  issued when his notice of appeal was filed.          However, this
  potential jurisdictional issue does not prevent us from applying
  the doctrine of abatement ab initio to Reynolds's convictions,
  which are before us, and remanding to the District Court, which
  has continued to exercise jurisdiction over the criminal
  forfeiture   proceedings   related   to   the   convictions,   with
  instructions to take the actions that follow from the vacatur of
  the convictions.
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  no longer good law.").         And we see no reason here to conclude

  otherwise, at least as no argument has been made to us that

  challenges the government's position that "the reasoning of Nelson

  . . . compels abating monetary penalties where a defendant dies

  during his direct appeal."        Brooks, 872 F.3d at 89.        However, in

  so holding, we do not take any position on whether the different

  considerations that might arise where forfeited property had been

  distributed to victims before a defendant's death would call for

  a different result, as no suggestion has been made here that any

  forfeited funds were distributed to victims before Reynolds died.

                                       III.

              For the foregoing reasons we dismiss the appeal and

  remand to the District Court for it to vacate the judgment of

  conviction and the orders of restitution and forfeiture and for it

  to dismiss the superseding indictment.




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